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14                              UNITED STATES DISTRICT COURT

15                           NORTHERN DISTRICT OF CALIFORNIA

16                                  SAN FRANCISCO DIVISION

17
     BIT GLOBAL DIGITAL LIMITED,                      Case No. 3:24-cv-09019-AMO
18
                                  Plaintiff,
19                                                    DEFENDANT COINBASE GLOBAL,
            v.                                        INC.’S OPPOSITION TO EX PARTE
20                                                    EMERGENCY MOTION FOR
                                                      TEMPORARY RESTRAINING ORDER
21   COINBASE GLOBAL, INC.,
                                                      AND PRELIMINARY INJUNCTION
22                                Defendant.
                                                      Hearing Date: December 18, 2024
23                                                    Time: 11 a.m. PT
                                                      Judge: Hon. Araceli Martínez-Olguín
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 1                                           INTRODUCTION

 2          Coinbase made the decision—based on a rigorous internal process—that wBTC should be

 3   delisted from Coinbase’s exchange due to the unacceptable risk that control of wBTC would fall

 4   into the hands of Justin Sun. BiT now asks the Court to override, on an emergency basis no less,

 5   Coinbase’s judgment that continuing to list wBTC could compromise the integrity of its platform

 6   and put customers at risk. BiT seeks to force Coinbase to do business with an entity that no longer

 7   complies with Coinbase’s standards due to Mr. Sun’s “material[] involve[ment].” And yet, Mr.

 8   Sun’s name and connection to wBTC is conspicuously absent from BiT’s Complaint and TRO
 9   request. So too is any acknowledgement that he has repeatedly been accused of, investigated for,
10   and sued for financial misconduct, and that reports of his alleged misdeeds abound in the press and
11   crypto community more broadly.
12          No law supports BiT’s claims—and certainly none compels Coinbase to host an asset on
13   its exchange that is now connected to an individual with a long history of alleged fraud and market
14   manipulation. Nor can BiT claim harm, let alone irreparable harm, from being delisted from an
15   exchange where less than 1% of transactions involving wBTC are made. Perhaps that is why BiT
16   sat on its claims for nearly a month before filing suit, belying any urgency for relief.
17          In August 2024, the firm BitGo announced a joint venture in which Plaintiff BiT, in
18   partnership with Mr. Sun, would share control of “wrapped Bitcoin” (wBTC)—a digital asset (aka

19   cryptocurrency) collateralized by Bitcoin held in reserve. Fundamental to wBTC is the requirement

20   that billions of dollars’ worth of Bitcoin be held in reserve by an issuer who can be relied upon to

21   take stewardship over those reserves. Coinbase—like many others in the industry—had serious

22   questions about whether BiT could be a reliable steward given Mr. Sun’s involvement. He has

23   reportedly violated industry and government standards intended to prevent fraud. He has been sued

24   by the SEC for fraud and market manipulation. It has been reported that he is being investigated

25   for potential criminal wrongdoing by both the FBI and the U.S. Attorney’s Office for the S.D.N.Y.

26   And just last year Coinbase closed the account of a company owned by one of Mr. Sun’s known

27   associates and tied to Mr. Sun for violating Coinbase’s Terms of Service.

28          After the announcement of a material change in control and Mr. Sun’s involvement,


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 1   Coinbase initiated a review of wBTC following its standard process outlined on its website.

 2   Consistent with that process, Coinbase conducted careful diligence, including asking BiT

 3   questions about who ultimately owned and controlled BiT. BiT refused to answer, presumably to

 4   conceal Mr. Sun’s role, much as it has done here. At the conclusion of its diligence, Coinbase

 5   concluded that Mr. Sun’s affiliation with—and potential control over—wBTC presented an

 6   unacceptable risk to its customers and the integrity of its exchange. Accordingly, on November

 7   19, 2024, Coinbase publicly announced it would suspend wBTC trading 30 days later.

 8          BiT did nothing for weeks. Then, just four business days before the delisting was set to
 9   take effect, it filed this lawsuit and motion for a TRO, manufacturing an “emergency” and asking
10   this Court to force Coinbase to grant wBTC “unabated” access to its exchange. This is not relief
11   that should be granted at all, let alone on a truncated record and hyper-compressed timeline. BiT’s
12   lengthy and inexplicable delay in filing this action makes clear that it will not suffer any real harm
13   absent relief. That alone is sufficient grounds to deny the motion.
14          If the Court reaches the other elements for emergency relief, it will find more reasons to
15   deny it. BiT’s legal theories are frivolous, and its cries of foul play and injury are unsupported.
16   The core of BiT’s argument is that it has an absolute right to offer wBTC on Coinbase’s
17   exchange—even where wBTC presents a serious risk to Coinbase’s customers and its platform.
18   The implications of such a ruling would be significant, not only in the crypto industry but across

19   technology platforms more generally. It is common sense that Coinbase should be able to enforce

20   its listing standards, which protect its customers from fraud and actors like Mr. Sun. Courts in this

21   district have consistently recognized the public interest in allowing technology companies to

22   exercise their expert judgment to protect their platforms and users. See, e.g., Stackla, Inc. v.

23   Facebook Inc., 2019 WL 4738288, at *6 (N.D. Cal. Sept. 27, 2019) (denying TRO and highlighting

24   public interest in allowing technology company to police integrity of platforms).

25          The balance of hardships likewise disfavors a TRO, as demonstrated by BiT’s anemic

26   showing of supposed irreparable injury. BiT principally claims that it will lose business and profits

27   because some wBTC users will switch to Coinbase’s wrapped Bitcoin asset cbBTC. A (supposed)

28   financial injury like this is compensable through monetary damages after trial—and BiT’s


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 1   imagined losses are speculative to boot. It never explains how delisting wBTC from a single

 2   exchange that hosts a de minimis (less than 1%) portion of wBTC trading could wreak irreparable

 3   harm. BiT’s claimed reputational harms fail as well. While BiT attempts to lay blame on Coinbase,

 4   the reality is that Coinbase’s decision is a symptom of the broader crypto community’s lack of

 5   confidence in BiT and Mr. Sun, not its cause. The day after the announcement, Mr. Sun was forced

 6   to take to X to try to allay concerns about his involvement in wBTC. Declaration of Sonal N.

 7   Mehta (“Mehta Decl.”) Ex. A. According to wBTC’s X account, the fallout led to “panic” and

 8   “FUD” (fear, uncertainty, doubt). Id. Ex. B. And, long before Coinbase took any action, wBTC’s
 9   circulation had already started to fall. The net of this is that any diminished trust in wBTC was
10   caused by its association with Mr. Sun—not by Coinbase.
11          If the Court were to even reach the question of likelihood of success on the merits, that
12   would confirm that emergency relief should be denied. Despite pleading a host of headline-
13   grabbing antitrust and business tort claims, BiT does not bother to assert that it is likely to succeed
14   on any of them. That is likely because—as the record before the Court on this motion clearly
15   shows—Coinbase does not have anything approaching monopoly power, and because its decision
16   to delist wBTC was proper and justified based on the careful review it undertook and the
17   unacceptable risk of doing business with an entity associated with Mr. Sun.
18          The two claims on which BiT did base its TRO request are unlikely to succeed for

19   substantially the same reasons. First, BiT’s claim under California’s Unfair Competition Law fails

20   because Coinbase has the right to choose whom to do business with, and no law requires it to allow

21   bad actors or suspected bad actors onto its exchange. The result is the same whether the Court

22   evaluates this claim under the “unfairness” prong of the UCL, or according to BiT’s unusual

23   attempt to leverage the UCL’s “unlawful” prong to manufacture a private cause of action for a

24   purported violation of Section 5 of the FTC Act. Neither the UCL nor the FTC Act obligates

25   firms—even monopolists, which Coinbase decidedly is not—to do business with their self-

26   described rivals, particularly where, as here, that purported rival poses a serious risk to Coinbase’s

27   business and customers. Second, BiT’s claim that Coinbase’s announcement of its delisting

28   decision constitutes “trade libel” falls flat because it does not identify a single false statement


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 1    Coinbase made. The statements at issue—that wBTC does not meet Coinbase’s listing standards

 2    and that Coinbase intends to suspend trading of the asset—are true. BiT does not and cannot

 3    credibly argue otherwise. Its motion for a TRO should be denied.

 4                                            BACKGROUND

 5           Cryptocurrencies—also known as digital assets—gained prominence in the early 2010s as

 6    an alternative to traditional financial systems. Declaration of Daniel Kim (“Kim Decl.”) ¶3. For

 7    many, the appeal of digital assets lies in their decentralization from banks and governments, and

 8    the security of cryptography. Id. ¶4. Like any financial system, however, digital assets are not
 9    without risk. Id. Consumer confidence is paramount to the health of the crypto ecosystem,
10    including the exchanges on which they are traded. Id.
11           A.      Coinbase’s Standards For Listing And De-Listing Assets On Its Exchange
12           Coinbase operates an exchange on which users can trade and store digital assets. Kim Decl.
13    ¶¶8-9. More than 270 assets are listed on its retail exchange. Id. ¶9. Coinbase is one of dozens of
14    similar exchanges operating in the U.S., from which it faces robust competition. Id. ¶10. It also
15    faces increasing competition from emergent “decentralized exchanges,” peer-to-peer systems on
16    which users transact directly. Id. ¶11. Binance is the largest digital asset exchange globally. Id.
17    ¶10.
18           Coinbase’s reputation for reliability and security is critical to its business. Declaration of

19    Court Hillman (“Hillman Decl.”) ¶7. As with any exchanges of assets, parties will be drawn to

20    Coinbase’s exchange only if they believe Coinbase ensures honest trading and appropriately vets

21    the actors and assets on its platform. Id. ¶7. Coinbase is committed to living up to its brand as the

22    “Most Trusted Crypto Exchange,” and as part of that, it employs teams of experts across multiple

23    fields—including lawyers, technologists, and finance veterans—to review assets for listing on its

24    exchange and make the best judgments on how to ensure platform integrity. Id. ¶7.

25           To be listed on Coinbase’s exchange, a digital asset must be reviewed and approved by

26    Coinbase’s Digital Asset Support Group (“DASG”). Hillman Decl. ¶8. Coinbase vets digital assets

27    based on its legal, technical/security, and compliance requirements. Id. ¶8. The legal review

28    focuses on whether the asset is likely to be deemed a security and therefore could trigger


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 1    registration requirements. Mehta Decl. Ex. C. The technical/security review focuses primarily on

 2    token custody risks based on an analysis of “smart contract code, the design of the token system,

 3    and the governance” of an asset. Id. Ex. D. Compliance review assesses consumer protection

 4    considerations and associations with illicit activities, including money laundering and terrorist

 5    financing. It also includes research into “the background and history of the project team’s

 6    experience in related industry and crypto, and other projects they’ve supported in the past.” Id. Ex.

 7    E. After the vetting process is complete, DASG members decide whether to recommend an asset

 8    be listed. Hillman Decl. ¶9. Historically, approximately 90% of digital assets reviewed by
 9    Coinbase do not meet the requirements of Coinbase’s listing standards and are not listed. Id. ¶9.
10    In addition to DASG approval, Coinbase will assess whether there is a business rationale for listing
11    the asset, with a focus on commercial priorities, available resources to support the listing, business
12    metrics, and the track record of the individuals involved with the digital asset. Id. ¶10.
13           To ensure the integrity of the exchange and protect its users, Coinbase monitors assets
14    listed on the exchange for ongoing compliance with its listing standards. Hillman Decl. ¶11.
15    Coinbase uses market intelligence alerts and updates from crypto research firms to detect events
16    that could negatively impact a digital asset. Id. ¶11. Events that trigger additional review of a
17    digital asset by Coinbase personnel include attacks on or newly discovered bugs in a digital asset’s
18    underlying software; major protocol changes for that digital asset; or changes to an asset issuer’s

19    strategy, leadership, or legal status. Id. ¶11. To conduct this additional due diligence review,

20    Coinbase may analyze open sources or request further information from the issuer. Id. ¶12.

21           In accordance with Coinbase’s ongoing review of whether assets meet its listing standards,

22    Coinbase delists assets with regularity. Hillman Decl. ¶34. In the past 21 months, Coinbase has

23    delisted or announced its intention to delist at least six other assets for failure to meet its listing

24    standards, including BarnBridge, Decentralized Social, Multichain, Ooki, Status Network, and

25    Unifi Protocol DAO. Id. ¶35.

26            A delisted asset is not cut off from the Coinbase platform. Kim Decl. ¶36. A user who

27    owns a delisted asset can still store that asset in their Coinbase account or move it to another

28    exchange that continues to list that asset (if they want to sell it). Id. Coinbase users can also


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 1    continue to purchase delisted assets through the Coinbase Wallet, a separate software application

 2    on which users can trade thousands of digital assets through decentralized exchanges and store

 3    them using their own mobile device. Id. ¶37.

 4           B.      Wrapped Bitcoin Tokens

 5           Bitcoin is one of the most well-known and widely traded digital assets, and is regarded

 6    within the industry as a secure, trustworthy token. Kim Decl. ¶6. Since Bitcoin’s creation, newer

 7    assets have implemented technology with advantages like improved speed and the ability to

 8    execute “smart contracts,” which are computer programs designed to automatically execute the
 9    terms of an agreement between parties. Id. ¶¶6-7. One example is Ethereum. Id. ¶7. Because
10    different blockchains, like Bitcoin and Ethereum, have different protocols, digital assets on one
11    network are typically incompatible with other networks. Id. ¶12.
12           Wrapped Bitcoin was an innovation reconciling that incompatibility. Kim Decl. ¶12. A
13    Bitcoin user can “wrap” or “mint” Bitcoin by giving their Bitcoin to a merchant, who deposits it
14    with a custodian. Id. ¶13. The custodian issues new tokens—the wrapped Bitcoin—of equivalent
15    value to the deposited Bitcoin on another blockchain network, such as Ethereum. Id. The Bitcoin
16    owner can then redeem (or “burn”) their wrapped Bitcoin token with the custodian and receive
17    their underlying Bitcoin back in exchange. Id. ¶14. The wrapped Bitcoin is thus backed by Bitcoin,
18    and the value of the wrapped Bitcoin generally tracks the value of the underlying Bitcoin. Id.

19    Critically, wrapped Bitcoin has a key risk compared to Bitcoin: Owners of wrapped Bitcoin must

20    be able to trust the custodian because the custodian could misappropriate or otherwise mishandle

21    the underlying Bitcoin, rendering the wrapped Bitcoin worthless. Id. ¶15.

22           BitGo began issuing its wrapped Bitcoin tokens, known as “wBTC,” on the Ethereum

23    network in January 2019. Kim Decl. ¶16. Pursuant to Coinbase’s process for reviewing

24    applications to list a digital asset on its exchange, wBTC was approved for listing in October 2020.

25    Id. ¶17. Coinbase’s exchange handles a low volume—less than 1%—of wBTC activity globally.

26    Id. ¶40. The bulk of wBTC trading occurs on other platforms, including Binance and Uniswap. Id.

27           C.      BitGo Partners With BiT And Justin Sun

28           On August 9, 2024, BitGo announced a joint venture with Plaintiff BiT, Justin Sun, and


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 1    the TRON blockchain platform. Mehta Decl. Ex. F. Mr. Sun’s involvement in the venture was

 2    widely publicized by other wBTC-affiliated entities and Mr. Sun himself. The announcement

 3    described the effort as a “strategic partnership” with Mr. Sun. Id. BitGo’s CEO Mike Belshe

 4    confirmed the next day that “we made sure to be very clear about [Mr. Sun’s] name” in the

 5    announcement, id. Ex. G, and reiterated that Mr. Sun “is materially involved, which is why we

 6    stated that in the very first announcement,” id. Ex. H. Mr. Belshe also gave multiple interviews

 7    following the announcement discussing Mr. Sun’s involvement. Id. Exs. I, J, K. And Mr. Sun

 8    highlighted his involvement on X. Id. Exs. A, L.
 9           The announcement prompted widespread alarm. Just one day later, Mr. Sun himself
10    recognized “that the community has some concerns about my involvement in various projects,
11    including WBTC.” Mehta Decl. Ex. A. Sky, f/k/a MakerDAO, an influential digital asset
12    community that allows users to borrow and lend digital assets, passed a resolution proposing to
13    bar the use of wBTC as collateral for such transactions. Mehta Decl. Ex. M; see also Kim Decl.
14    ¶26. As wBTC’s own X account put it, the news created “panic” and “FUD,” i.e., fear, uncertainty,
15    and doubt. Mehta Decl. Ex. B.
16           This was not an overreaction. Mr. Sun is infamous in the crypto community and has been
17    accused of, among other things, fraud, misappropriation of digital assets, and market manipulation.
18    Kim Decl. ¶¶22-24; Hillman Decl. ¶20. An expose by The Verge, a widely read technology news

19    website, reported that, in 2019, Mr. Sun took control of the digital asset exchange Poloniex and

20    proceeded to misappropriate cryptocurrency from users’ accounts, while instructing employees to

21    “fake” the vetting process for customers before allowing them to trade on the exchange. Kim Decl.

22    ¶23; Mehta Decl. Ex. N. Allegations of similar misconduct abound. Kim Decl. ¶22. Mr. Sun has

23    been accused of, for example, manipulating crypto markets and engaging in highly risky trading

24    behavior for his own gain. An SEC investigation found, and a civil complaint filed against him

25    alleges, that Mr. Sun engaged in fraud and manipulated the price of TRX, the flagship digital asset

26    of his cryptocurrency network TRON, through wash trades—a market manipulation tactic where

27    the same entity buys and sells financial instruments to drive up price through the false impression

28    of market activity. Compl., SEC v. Sun, No. 1:23-cv-02433 (S.D.N.Y. Mar. 22, 2023), Dkt. 1; see


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 1    also Kim Decl. ¶24. It has also been reported that, as of 2022, Mr. Sun was under investigation by

 2    the FBI and U.S. Attorney’s Office for the Southern District of New York for potential criminal

 3    charges. Mehta Decl. Ex. N; see also Kim Decl. ¶25. Coinbase’s own experience with Mr. Sun

 4    comports with his reputation. Hillman Decl. ¶21. For example, in 2023, Coinbase closed the

 5    account of a company tied to Mr. Sun for violating Coinbase’s Terms of Service. Id. ¶21.

 6            Perhaps unsurprisingly given Mr. Sun’s reputation, the August 9 announcement of his

 7    involvement in wBTC coincided with a significant drop in the total supply of wBTC. Kim Decl.

 8    ¶27. Between August 9 and November 18—the day before Coinbase announced its delisting
 9    decision—supply fell from over 154,000 wBTC tokens to less than 147,000, a nearly 5% decrease
10    equivalent to roughly $713 million. Id.; see also Mehta Decl. Ex. O.
11           D.      Coinbase’s Review And Decision To Delist wBTC From The Exchange
12            BitGo’s joint venture announcement was a trigger event that required re-evaluation of
13    wBTC’s compliance with Coinbase’s Listing Standards. Hillman Decl. ¶18. On September 10,
14    2024, DASG members convened to review the results of a compliance review of wBTC. Id. ¶26.
15    The members decided to seek further information on BitGo’s partnership with BiT and the nature
16    of Mr. Sun’s relationship to BiT. Id. ¶26. Accordingly, on September 12, a member of the Coinbase
17    Listings Team emailed BitGo representatives to inquire about BiT’s directors and Ultimate
18    Beneficial Owners (UBOs) and how the new venture would impact wBTC’s operations in an effort

19    to understand the scope of Mr. Sun’s involvement. Id. ¶27. Coinbase employees followed up on

20    these requests four more times between September 24 and October 16. Id. Ex. I.

21           On October 16, 2024, a BitGo employee introduced Coinbase to a representative of BiT,

22    who provided the names of six entities that had ownership stakes in BiT and two directors. Hillman

23    Decl. ¶30. On October 24, 2024, the Coinbase Listings Team asked for the UBOs behind the BiT

24    entities. In response, the BiT representative asserted that Mr. Sun “is not involved in the

25    shareholding structure [of BiT] directly or indirectly,” but declined to provide UBO information

26    for the BiT entities, claiming he was “bound by confidentiality.” Id. ¶30. Notwithstanding the

27    substantial industry concern around Mr. Sun’s involvement and Coinbase’s repeated inquiries, BiT

28    provided no information to assure Coinbase that Mr. Sun would not be in a position to compromise


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 1    wBTC’s integrity. Id. ¶30.

 2             On November 1, 2024, DASG reconvened to consider delisting wBTC. Hillman Decl. ¶31.

 3    In its evaluation, DASG considered BiT’s refusal to provide answers about its UBOs. Id. ¶31.

 4    BiT’s evasiveness exacerbated doubts about its assertion that Mr. Sun “is not involved in the

 5    shareholding structure” of BiT. Id. ¶31. DASG concluded there was an unacceptable risk Mr. Sun

 6    could misappropriate the deposited Bitcoin for wBTC and create losses for Coinbase users holding

 7    wBTC. Id. ¶31. Based on these known and anticipated risks, DASG determined wBTC no longer

 8    met Coinbase’s listing standards and voted to delist it. Id. ¶31.
 9             On November 19, 2024, Coinbase announced that wBTC would be delisted from
10    Coinbase’s exchange in 30 days. Hillman Decl. ¶32. Its post on X explained that Coinbase
11    “regularly monitor[s] the assets on [its] exchanges to ensure they meet [Coinbase’s] listing
12    standards.” Mehta Decl. Ex. P. The announcement further explained: “Based on our most recent
13    review, Coinbase will suspend trading for wBTC (wBTC) on December 19, 2024 on or around 12
14    pm ET.” Id. The public announcement by Coinbase was consistent with its approach of not
15    providing details about specific delisting determinations. Hillman Decl. ¶33.
16                                               ARGUMENT
17             Both a temporary restraining order and a preliminary injunction are “extraordinary and
18    drastic remed[ies] … that should not be granted unless the movant, by a clear showing, carries the

19    burden of persuading.” Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012). Plaintiffs seeking

20    either must show that they: “(1) are likely to succeed on the merits; (2) are likely to suffer

21    irreparable harm in the absence of preliminary relief; (3) the balance of equities tips in their favor;

22    and (4) an injunction is in the public interest.” Sanchez v. City of Fremont, 2024 WL 2031633, at

23    *5 (N.D. Cal. May 6, 2024). 1 All four requirements point decisively against granting BiT’s motion.

24    I.       BIT HAS FAILED TO SHOW IMMINENT IRREPARABLE HARM

25             “An adequate showing of irreparable harm is the ‘single most important prerequisite for

26    the issuance of a [TRO].’” Koller v. Brown, 224 F. Supp. 3d 871, 879 (N.D. Cal. 2016). The

27    irreparable harm standard is demanding: “[A]n injunction cannot issue merely because it is

28
      1
          Unless otherwise noted, emphasis is added and citations are omitted throughout.

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 1    possible that there will be an irreparable injury to the plaintiff; it must be likely that there will be.”

 2    Am. Trucking Ass’ns v. City of L.A., 559 F.3d 1046, 1052 (9th Cir. 2009). BiT falls far short.

 3            A.      BiT’s Delay In Seeking Emergency Relief Forecloses A TRO

 4            On November 19, 2024, Coinbase announced its decision to delist wBTC and provided 30

 5    days advance notice. Compl. ¶55. BiT did not file its complaint and motion until nearly a month

 6    later, on Friday, December 13, 2024, and only four business days before the delisting. Neither the

 7    complaint nor the motion provides any explanation for this delay.

 8            “[U]ndue delay, standing alone, constitutes grounds for rejecting a” TRO. Protech
 9    Diamond Tools, Inc. v. Liao, 2009 WL 1626587, at *6 (N.D. Cal. June 8, 2009). That is because a
10    “long delay before seeking a [TRO] implies a lack of urgency and irreparable harm” stemming
11    from that action. Oakland Trib., Inc. v. Chronicle Publ’g Co., 762 F.2d 1374, 1377 (9th Cir. 1985).
12    That is especially so where, as here, “[t]here is no indication that Plaintiff was unable to make this
13    emergency request sooner; and Plaintiff provides no explanation for why it waited until the
14    eleventh hour to file.” Sovereign Natchez Nation v. Riverside Cnty. Dep’t of Soc. Servs. Child.
15    Protective Servs., 2022 WL 19865440, at *1 (C.D. Cal. Mar. 10, 2022). Courts have regularly
16    denied TROs for delays of even shorter duration than the one here. See, e.g., Dahl v. Swift Distrib.,
17    Inc., 2010 WL 1458957, at *4 (C.D. Cal. Apr. 1, 2010) (18-day delay “implie[d] a lack of urgency
18    and irreparable harm”); Studio 010, Inc. v. Digital Cashflow LLC, 2020 WL 3605654, at *2 (W.D.

19    Wash. July 2, 2020) (three-week delay undermines irreparable harm); Royalty Ambulance Servs.

20    v. HHS, 2014 U.S. Dist. LEXIS 64000, at *8-9 (C.D. Cal. May 8, 2014) (ten-day delay “negates”

21    assertion of irreparable harm). If BiT truly faced a serious irreparable injury, it would have—and

22    should have—moved immediately for relief, rather than lying in wait for weeks to manufacture an

23    artificial emergency. The Court should deny the TRO based on delay alone.

24            In the face of that dispositive delay, BiT superficially alleges two forms of irreparable harm

25    it supposedly faces. First, BiT claims it might “lose some of its customers to Coinbase’s cbBTC

26    product” if BiT’s digital asset becomes harder to obtain and consumers lose confidence in its

27    stability. Mot. 21. Second, BiT says it might experience an undefined reputational injury from

28    being delisted, since delisting “is a clear message to the digital asset community that wBTC is less


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 1    trustworthy than Dogwifhat and Peanut the Squirrel,” which are other digital assets on Coinbase’s

 2    exchange. Mot. 21. Both arguments fail.

 3           B.      BiT Faces No Irreparable Harm From Lost Profits

 4           “It is well established” that “monetary injury is not normally considered irreparable.” L.A.

 5    Mem’l Coliseum Comm’n v. Nat’l Football League, 634 F.2d 1197, 1202 (9th Cir. 1980). Scores

 6    of cases reaffirm that lost sales or lost profits do not establish irreparable injury. See, e.g., Amylin

 7    Pharms., Inc. v. Eli Lilly & Co., 456 F. App’x 676, 678 (9th Cir. 2011) (“[L]ost profits due to lost

 8    sales generally constitutes the type of harm that is fully compensable through money damages and
 9    therefore does not support injunctive relief.”); Studio 010, Inc., 2020 WL 3605654, at *2 (“[A]ny
10    damages resulting from lost profits are purely financial and do not support a finding of irreparable

11    harm.”); CZ Servs., Inc. v. Express Scripts Holding Co., 2018 WL 4998141, at *3 (N.D. Cal. Oct.

12    15, 2018) (“customer losses are effectively a claim for lost revenue and profit, which is redressable

13    with an award of damages and consequently not a basis for finding irreparable harm.”); Nutrition

14    Distrib., LLC v. Enhanced Athlete, Inc., 2017 WL 5467252, at *3 (E.D. Cal. Nov. 14, 2017) (lost

15    sales not cognizable irreparable harm); Aurora World, Inc. v. Ty Inc., 719 F. Supp. 2d 1115, 1169

16    (C.D. Cal. 2009) (same). That principle extends to antitrust and unfair competition claims.

17    “Without a sufficient showing that” a challenged act threatens the plaintiff’s “existence, any loss

18    in revenue due to an antitrust violation is compensable in damages.” Am. Passage Media Corp. v.

19    Cass Commc’ns, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985).

20           BiT’s purported irreparable harm—“los[ing] some of its customers to Coinbase’s cbBTC”

21    and thus “los[ing] future profits”—is thus quintessentially remediable after any trial. BiT can

22    identify the loss of demand (if any) following the delisting, and then calculate the lost profits from

23    that loss. BiT does not—and cannot—explain how that classic monetary harm is irreparable.

24    Instead of providing an explanation, BiT offers two unexplained citations to intellectual property

25    cases as support for the proposition that lost profits constitute irreparable harm. Mot. 21 (citing

26    Synopsys, Inc. v. InnoGrit, Corp., 2019 WL 2617091, at *4 (N.D. Cal. June 26, 2019) and

27    Stuhlbarg Int’l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 841 (9th Cir. 2001)). Those cases

28    appear to be holdovers from an earlier era in which irreparable injury could “‘be presumed from a


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 1    showing of likelihood of success on the merits of a trademark infringement claim’” or other

 2    intellectual property claim. Herb Reed Enters., LLC v. Fla. Ent. Mgmt., Inc., 736 F.3d 1239, 1249

 3    (9th Cir. 2013); see also Flexible Lifeline Sys., Inc. v. Precision Lift, Inc., 654 F.3d 989, 998 (9th

 4    Cir. 2011) (copyright). This is, of course, not an intellectual property case. And since at least 2008,

 5    this presumption has not been the law, even for intellectual property cases. See Herb Reed Enters.,

 6    736 F.3d at 1249; Flexible Lifeline Sys., 654 F.3d at 998.

 7           To the extent Synopsys and Stuhlbarg remain good law at all, they reflect merely that lost

 8    profits flowing from brand dilution in intellectual property cases may be harder to quantify than
 9    other forms of lost profits, and thus not easily compensable. See Synopsys, 2019 WL 2617091, at
10    *4. That is not this case. While there is every reason to believe that any reduction in sales resulting
11    from Coinbase’s delisting will be de minimis, and every reason to conclude that any decline is
12    really a function of the market reaction to Mr. Sun’s announcement and not Coinbase’s delisting
13    decision, whatever lost profits may occur are calculable and compensable—not irreparable.
14           Beyond that, BiT’s lost profits argument must be rejected because it rests on unsupported
15    speculation. “Speculative injury does not constitute irreparable injury.” Goldie’s Bookstore, Inc.
16    v. Super. Ct., 739 F.2d 466, 472 (9th Cir. 1984). And BiT “did not provide any evidence indicating
17    it is likely to lose sales” to Coinbase’s cbBTC. BoomerangIt, Inc. v. ID Armor, Inc., 2012 WL
18    2368466, at *4 (N.D. Cal. June 21, 2012). Despite having more than three weeks to prepare TRO

19    papers, it cited no affidavits from customers—or even a BiT employee—and not a single study of

20    consumer behavior suggesting that delisting of a digital asset from a single trading platform tends

21    to produce a significant loss of customers. Nor is it clear why it would “certainly” do so, as BiT

22    asserts. Mot. 21. The Complaint includes a chart purporting to show a decrease in wBTC

23    circulation following Coinbase’s delisting announcement, but BiT’s motion does not cite it.

24    Compl. ¶61. That may be because the total wBTC in circulation had been falling long before

25    Coinbase’s delisting. See supra p.8.

26           It is not just that BiT lacks proof of irreparable harm—there is ample evidence

27    affirmatively demonstrating that delisting wBTC will have little to no effect on BiT’s profits. For

28    one thing, only a tiny fraction—less than 1%—of all wBTC trading occurs on Coinbase (the


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 1    majority occurs on other platforms like Binance and Uniswap), meaning that its delisting from

 2    Coinbase cannot have more than a de minimis impact on the market. See supra p.6. And Coinbase

 3    delisting wBTC does not prevent trading of wBTC through other exchanges. Nor does it prevent

 4    Coinbase users from holding wBTC in their wallets. Indeed, it does not even prevent them from

 5    trading wBTC using Coinbase Wallet. Given all those options to easily continue trading wBTC, it

 6    is pure speculation to assert—without proof—that a meaningful number of customers (to the extent

 7    they have not already abandoned wBTC) will nonetheless pivot to cbBTC. Extraordinary relief

 8    cannot be justified on such threadbare conjecture.
 9           C.      BiT Faces No Irreparable Harm From Damage To Its Reputation
10           BiT’s claimed irreparable harm from damage to its reputation fares no better. Reputational
11    harm is not inherently irreparable. See Nutrition Distrib. LLC v. Lecheek Nutrition, Inc., 2015 WL
12    12659907, at *7 (C.D. Cal. June 5, 2015) (“[A]lleged harm in terms of potential loss of goodwill
13    or market share, could be remedied by monetary damages and thus, a preliminary injunction is not
14    appropriate.”). Rather, a plaintiff must affirmatively demonstrate that its claimed reputational harm
15    cannot be remedied by monetary damages—for instance, through a libel claim like the one BiT
16    brings here. Because BiT gives no reason its feared reputational harm could not be remedied by
17    monetary damages, those feared harms cannot justify a TRO. But even putting that threshold
18    problem aside, BiT’s asserted reputational harm fails both because it is illusory and because it

19    would not be remedied by the requested TRO.

20           First, and most importantly, BiT has not shown and cannot hope to show that Coinbase’s

21    decision to delist wBTC—as it has delisted other assets in the past—is the cause of any alleged

22    reputational injury to BiT, given its association with Mr. Sun. A TRO cannot remedy a public

23    belief “that wBTC is not to be trusted,” Mot. 10, because BiT’s own actions have made clear to

24    the public that it does not deserve their trust. As detailed above, Mr. Sun has been sued by the

25    SEC, is reportedly being investigated by the FBI and the S.D.N.Y. U.S. Attorney’s Office, and has

26    been accused of misappropriating customer funds by his own former employees. Sky voted to

27    remove wBTC from their list of acceptable collateral assets when news broke that Mr. Sun might

28    have access to the Bitcoin reserves that support wBTC. See supra p.7. The digital asset press


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 1    repeatedly observed the collapse of public confidence in wBTC following Mr. Sun’s entrance. See,

 2    e.g., Hillman Decl. Exs. D, E (describing industry fears and scrutiny over Mr. Sun’s wBTC

 3    association). And as described above, the result of all of this was, by Mr. Sun and wBTC’s own

 4    account, “concern,” “panic,” and “FUD”—weeks before Coinbase announced (or even decided

 5    on) delisting. Mehta Decl. Exs. A, B.

 6            “[S]elf-inflicted wounds are not irreparable injury,” Al Otro Lado v. Wolf, 952 F.3d 999,

 7    1008 (9th Cir. 2020), and BiT’s “predicament” is “of its own making,” Epic Games, Inc. v. Apple

 8    Inc., 2020 WL 5073937, at *3 (N.D. Cal. Aug. 24, 2020). Granting a TRO can do nothing to repair
 9    or protect a reputation that BiT itself has already sullied. Where, as here, a plaintiff’s “highly
10    publicized behavior” has already inflicted the very reputational harm a TRO is sought to prevent,
11    the plaintiff “fails to show a likelihood of irreparable harm.” Arenas v. Shed Media U.S. Inc., 881
12    F. Supp. 2d 1181, 1194 (C.D. Cal.), aff’d, 462 F. App’x 709 (9th Cir. 2011).
13           Second, any reputational injury is based on pure speculation. “[S]peculation that its
14    reputation and market share may be damaged if a TRO is not immediately issued does not justify
15    ex parte relief.” Studio 010, 2020 WL 3605654, at *2; see also Leatt Corp. v. Innovative Safety
16    Tech., LLC, 2010 WL 1526382, at *10 (S.D. Cal. Apr. 15, 2010) (“a court may deny a preliminary
17    injunction where the allegations of intangible injury are speculative or unsupported by evidence”).
18    Plaintiffs who successfully demonstrate irreparable reputational harm must come forward with

19    evidence that harm is real and imminent—like “numerous and persistent complaints” or “emails

20    and social media posts from consumers” substantiating the reputational harm. Life Alert

21    Emergency Response, Inc. v. LifeWatch, Inc., 601 F. App’x 469, 474 (9th Cir. 2015). BiT, by

22    contrast, offers no evidence of harm at all. Instead, it offers the kind of bare assertion that “its

23    brand image and prestige have or will be harmed” that courts have rejected. Puma SE v. Forever

24    21, Inc., 2017 WL 4771003, at *3 (C.D. Cal. June 2, 2017). Because BiT “did not cite any evidence

25    or authority to show that the claimed loss of good will is real, imminent, and significant, and not

26    just speculative or potential,” its TRO should be denied. BoomerangIt, 2012 WL 2368466, at *4.

27           Third, BiT’s asserted reputational harm would not be remedied by the proposed TRO. For

28    one thing, under BiT’s own theory, delisting itself is not the source of its purported reputational


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 1    harm. “[T]he mere fact that Plaintiff [will be] removed from” Coinbase’s listings “does not itself

 2    affect Plaintiff’s reputation.” Frontline Med. Assocs., Inc. v. Coventry Healthcare Workers Comp.,

 3    Inc., 620 F. Supp. 2d 1109, 1111 (C.D. Cal. 2009). Rather, if there is any impact to BiT’s

 4    reputation, BiT itself recognizes it flows from Coinbase’s “message to the cryptocurrency

 5    community that wBTC is less trustworthy” than other digital assets. Mot. 22. But whether or not

 6    Coinbase is allowed to actually delist wBTC, the cat is out of the bag and has been for nearly a

 7    month. BiT has not identified any concrete injury to its reputation stemming from Coinbase’s

 8    actions in that time, let alone an irreparable one. Moreover, to the extent BiT’s claimed reputational
 9    harm stems from uncertainty about wBTC’s future stability and liquidity, a TRO will do no good.
10    The mere fact that litigation is ongoing means wBTC’s stability will be uncertain relative to
11    competitors. Where the “detrimental effects” of an act “have already taken their toll,” they cannot
12    be the basis for irreparable harm. Miller for & on Behalf of N.L.R.B. v. Cal. Pac. Med. Ctr., 991
13    F.2d 536, 544 (9th Cir. 1993), on reh’g, 19 F.3d 449 (9th Cir. 1994).
14           D.      Purported Irreparable Harm To The Public Cannot Justify A TRO
15           Perhaps recognizing that it faces no real irreparable harm, BiT also briefly argues that the
16    court should grant a TRO to prevent irreparable harm to all wBTC holders because they “will lose
17    a significant exchange through which they can trade wBTC.” Not so. wBTC holders are free to
18    trade wBTC through a variety of other exchanges. Individuals who hold wBTC on Coinbase can

19    still use it. The public can buy and sell wBTC on other exchanges—including those where the vast

20    majority of wBTC trading actually happens. BiT does not even attempt to explain what harm the

21    loss of a single exchange inflicts, let alone irreparably.

22           Beyond that, BiT never explains why its “request for public injunctive relief modifies the

23    requirement that a plaintiff must demonstrate irreparable harm to obtain such relief.” Brooks v. It

24    Works Mktg., Inc., 2022 WL 2217253, at *7 (E.D. Cal. June 21, 2022). There is no authority cited

25    for the proposition that a plaintiff may obtain a TRO where it faces no irreparable harm just

26    because some members of the public—who have not sued—might. And in all events, BiT’s

27    assertion of public harm rests on the false premise that BiT is pursuing public injunctive relief. It

28    is not. “[P]ublic injunctive relief … is limited to forward-looking injunctions that seek to prevent


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 1    future violations of law for the benefit of the general public as a whole, as opposed to a particular

 2    class of persons[.]” Hodges v. Comcast Cable Commc’ns, LLC, 21 F.4th 535, 542 (9th Cir. 2021).

 3    BiT’s motion makes clear that, to the extent BiT’s suit aims to protect the public at all, it protects

 4    only a narrow, particular class of persons: “consumers holding wBTC.” Mot. 22. Under Hodges,

 5    that is not an appropriate basis for seeking public injunctive relief. Furthermore, “public injunctive

 6    relief must do more than incidentally benefit the public”—it must “primarily benefit the general

 7    public as a more diffuse whole.” Grigorian v. Citibank, N.A., 2024 WL 2106944, at *4 (C.D. Cal.

 8    Apr. 17, 2024). There can be little doubt that a motion which mentions the public only in passing,
 9    and then only a small portion of the public, primarily serves to benefit BiT, not the public as a
10    whole. The public has no interest in forcing Coinbase to continue listing a high-risk asset. That
11    would undermine, rather than serve, the public interest.
12    II.       BIT CANNOT SHOW A LIKELIHOOD OF SUCCESS ON THE MERITS
13              Although the Complaint alleges eight causes of action, including splashy but unsupported

14    allegations that Coinbase is a monopolist and has violated the Sherman and Lanham Acts, BiT

15    does not even attempt to argue it is likely to succeed on the merits on the majority of those claims.

16    Instead, it attempts to support its request for emergency relief based on only two causes of action:

17    violation of the UCL and trade libel. It is not likely to succeed on either. 2

18              A.     BiT’s “UCL/FTC Act” Claim Is Unlikely to Succeed

19              California’s UCL prohibits “unlawful, unfair or fraudulent business act[s] or practice[s].”

20    Cal. Bus. & Prof. Code § 17200. BiT contends that Coinbase’s decision to limit its dealings with

21    BiT by delisting wBTC on one of its trading platforms violates the UCL’s “unlawful” and “unfair”

22    prongs. Because BiT’s motion does not argue it is likely to prevail on a claim that Coinbase’s

23    delisting violated the federal antitrust laws, the relevant question at present is whether its UCL

24    claim is likely to succeed under either of these prongs in the absence of a demonstrated antitrust

25    violation. BiT comes nowhere close to meeting the demanding standard for a UCL claim in such

26    circumstances.

27

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      2
          Coinbase will address additional dispositive defects with BiT’s claims in its motion to dismiss.

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                     1.       BiT Is Not Likely To Succeed Under the “Unfair” Prong
 1
             BiT devotes only a single paragraph to its likelihood of success under the UCL’s “unfair”
 2
      prong. That is unsurprising, as Cel-Tech Comms, Inc. v. L.A. Cellular Telephone Co. squarely bars
 3
      its claim under that prong. 20 Cal. 4th 163 (1999). Under Cel-Tech, “[w]hen a plaintiff who claims
 4
      to have suffered injury from a direct competitor’s ‘unfair’ act or practice invokes section 17200,”
 5
      as BiT does here, the word “unfair” means “conduct that threatens an incipient violation of an
 6
      antitrust law, or violates the policy or spirit of one of those laws because its effects are comparable
 7
      to or the same as a violation of the law, or otherwise significantly threatens or harms competition.”
 8
      20 Cal. 4th at 186-187. BiT’s claim is that Coinbase acted unfairly by deciding to delist wBTC on
 9
      one of its trading platforms. But it is axiomatic that, under the antitrust laws, “there is no duty to
10
      aid competitors.” MetroNet Servs. Corp. v. Qwest Corp., 383 F.3d 1124, 1131 (9th Cir. 2004).
11
      Federal antitrust law generally imposes no limitation on a competitor’s ability to “exercise his own
12
      independent discretion as to parties with whom he will deal.” Verizon Commc’ns Inc. v. Law
13
      Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 408 (2004). Instead, “[a]s a general rule, businesses
14
      are free to choose the parties with whom they will deal, as well as the prices, terms, and conditions
15
      of that dealing.” Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 448 (2009).
16
             While California law does not require an antitrust violation to state a claim under the UCL’s
17
      “unfair” prong, such a claim still must hew closely to “cognizable antitrust evils to warrant
18
      intervention by a California court.” People’s Choice Wireless, Inc. v. Verizon Wireless, 131 Cal.
19
      App. 4th 656, 668 (2005). A claimant must point to an “unusual aspect of the alleged conduct that
20
      would make that conduct something that violates the ‘policy and spirit’ of the antitrust laws
21
      without violating the actual laws themselves.” Creative Mobile Techs., LLC v. Flywheel Software,
22
      Inc., 2017 WL 679496, at *6 (N.D. Cal. Feb. 21, 2017). Applying these principles, the California
23
      Court of Appeal has held that “the mere refusal to deal does not violate the spirit or policy of
24
      antitrust law.” People’s Choice Wireless, 131 Cal. App. 4th at 667. Instead, a plaintiff alleging a
25
      refusal to deal theory under the UCL must satisfy the same standard as federal antitrust law:
26
      establishing that (1) the defendant has conducted “an abuse of monopoly power in a relevant
27
      market” and (2) an “exception” to the “sacrosanct” right to refuse to deal applies. Id.
28


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 1           Although it far from clear (let alone plausibly alleged), BiT’s claim appears to be one for

 2    a refusal to deal—its claim turns on Coinbase’s “refusal to allow wBTC” on its platform, and its

 3    injunction would compel Coinbase to “allow trading of wBTC indefinitely without restriction.”

 4    Mot. 16, 23. In other words, Coinbase has chosen not to list wBTC on its trading platform, and

 5    BiT contends that the law compels Coinbase to do so. But BiT’s motion does not even attempt to

 6    show that either of the two requirements for a refusal to deal claim are satisfied. BiT does not

 7    attempt to define or prove a relevant antitrust market. It cites no evidence of monopoly power.

 8    Indeed, the complaint alleges that BiT, not Coinbase, is the dominant seller of wrapped Bitcoin.
 9    See Compl. ¶32. And as demonstrated, Coinbase’s exchange is home to only a tiny fraction of
10    wrapped Bitcoin trades. See supra p.6. The Complaint does not identify any applicable exception
11    to the right to refuse to deal. BiT’s motion thus fails to establish a basis on which it could prevail
12    under—or even adequately plead—violation of the unfairness prong. Perhaps recognizing those
13    deficiencies, the TRO does not even attempt to argue that BiT is likely to prevail on its federal
14    antitrust claims. If those claims are too feeble to support emergency relief, there is no reason to
15    think state law claims predicated on federal antitrust law could fare any better.
16                   2.       BiT Is Not Likely To Succeed Under the “Unlawful” Prong

17           Unable to prevail under the UCL’s “unfair” prong in light of Cel-Tech, BiT attempts to

18    circumvent that decision by shoehorning the FTC Act’s unfairness standard into the UCL’s

19    unlawful prong. That effort fails for at least two reasons: (1) It is an improper attempt to circumvent

20    Cel-Tech, and (2) Coinbase’s delisting does not violate the FTC Act.
                              a)     BiT Cannot Circumvent Cel-Tech
21
             BiT’s claim under the UCL’s “unlawful” prong is an attempt to avoid Cel-Tech’s rule that
22
      an act is unfair only if it is an incipient violation of an antitrust law. Because BiT cannot satisfy
23
      the UCL’s “unfairness” requirement, it attempts to satisfy the FTC Act’s “unfairness” requirement
24
      and graft that onto the “unlawful” prong of the UCL. If that were permissible, it would vitiate Cel-
25
      Tech entirely—any plaintiff who could not meet Cel-Tech’s standard could simply take their
26
      chances on the FTC Act’s definition of “unfair” and ignore the UCL’s “unfair” prong entirely.
27
      That is not the law. As Cel-Tech itself recognizes, the FTC Act and the UCL closely parallel one
28


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 1    another. 20 Cal. 4th at 185 (“In view of the similarity of language and obvious identity of purpose

 2    of the two statutes, decisions of the federal court on the subject are more than ordinarily

 3    persuasive.”). Cel-Tech’s limits on plaintiffs bringing claims of “unfairness” are drawn directly

 4    from case law interpreting the FTC Act. For the same reasons BiT cannot satisfy the standards for

 5    unfairness under the UCL, it cannot satisfy the nearly identical standard under the FTC Act. A

 6    claim that alleges unfairness too vague to satisfy the UCL’s “unfair” prong does not suddenly

 7    become concrete and cognizable when accompanied by a citation to the FTC Act’s materially

 8    identical “unfair” standard. Coinbase is aware of no case (and BiT cited none) in which a claim
 9    that failed under the unfairness prong was allowed to proceed under the unlawful prong on the
10    ground that the conduct violated the FTC Act.
11           Permitting private plaintiffs to smuggle free-floating FTC Act “unfairness” claims—i.e.,
12    those untethered to real or genuinely incipient antitrust violations—through state law
13    misunderstands the way the FTC Act’s unfairness standard works. Where the FTC Act’s unfairness
14    prong reaches beyond express violations of the antitrust laws, it does so only because the FTC—
15    an expert agency—is charged with adjudicating those claims in the first instance and deciding on
16    the proper contours of “unfair” activity. “[L]abel[ing] a practice ‘unfair”’ is “a determination of
17    policy or judgment which the agency alone is authorized to make” in its administrative forum.
18    FTC v. Sperry & Hutchinson Co., 405 U.S. 233, 249 (1972); Carlson v. Coca-Cola Co., 483 F.2d

19    279, 280 (9th Cir. 1973) (“The protection against unfair trade practices afforded by the act invests

20    initial remedial power solely in the Federal Trade Commission.”). BiT does not get to define the

21    scope of the FTC Act for itself as a means to circumvent the limits of California law, when the

22    only reason the FTC Act stretches further than the antitrust laws in the first place is because of the

23    confidence Congress placed in the FTC, which has not challenged Coinbase’s delisting decision.

24    It is no surprise that, because of the FTC’s exclusive role in defining the scope of the FTC Act,

25    courts have repeatedly rejected efforts by plaintiffs to rely on their own reading of the FTC Act

26    “as a predicate for a UCL claim.” See, e.g., Quick Dispense, Inc. v. Vitality Foodservice, Inc., 2024

27    WL 2925589, at *13 (C.D. Cal. June 4, 2024); O’Donnell v. Bank of Am., N.A., 504 F. App’x 566,

28    568 (9th Cir. 2013) (“The federal statute doesn’t create a private right of action, and plaintiffs can’t


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 1    use California law to engineer one.”). In light of these decisions, BiT has not only failed to show

 2    it is likely to succeed, but has pled a theory that is highly unlikely to succeed under precedent

 3    applying the UCL’s “unlawful” prong.

 4                            b)      BiT Cannot Show A Violation Of The FTC Act

 5            Even putting Cel-Tech aside, BiT has not even pleaded—let alone established a likelihood

 6    of success based on—an FTC Act violation. A firm does not violate the FTC Act simply by

 7    choosing the parties that it will do business with. See W. Sugar Refinery Co. v. FTC, 275 F. 725,

 8    733 (9th Cir. 1921) (“[i]t is the settled law that the individual dealer may select his own customers

 9    for reasons sufficient to himself, and he may refuse to deal with a proposed customer who he thinks

10    is acting unfairly and is trying to undermine his trade”); FTC v. Paramount Famous-Lasky Corp.,

11    57 F.2d 152, 156 (2d Cir. 1932) (a firm “has the right to select his own customers and to sell such

12    quantities at given prices, or to refuse to sell at all to any particular person for reasons of his own”);

13    E.I. du Pont de Nemours & Co. v. FTC, 729 F.2d 128, 138 (2d Cir. 1984) (even a monopolist, “as

14    long as he has no purpose to restrain competition or to enhance or expand his monopoly, and does

15    not act coercively, retains [the right to trade with whom he wishes]” (original alteration)). The

16    premise of BiT’s UCL claim is that Coinbase was under an obligation to continue to do business

17    with it. But it has been clear for over a century that the FTC Act imposes no such duty.

18            That is particularly true where, as here, a firm has a “legitimate business justification” for

19    refusing to deal with a putative rival. See Mot. Ex. 15 at 16 n.89 (FTC policy statement on scope

20    of FTC Act). Here, Coinbase has a legitimate justification for delisting wBTC. Coinbase’s business

21    model depends on being a “trusted crypto platform.” See Hillman Decl. ¶5. Coinbase earns and

22    retains user trust in its exchange by monitoring listed assets and delisting those that fall out of

23    compliance with its publicly announced listing standards. See id. ¶7. BiT’s association with Mr.

24    Sun triggered a review of wBTC, and pursuant to its protocol, Coinbase determined that wBTC no

25    longer met its standards. The decision to delist pursuant to that process cannot possibly violate the

26    FTC Act—and BiT thus lacks any predicate violation for its UCL “unfairness” claim.

27            B.      BiT’s Trade Libel Claim Is Unlikely to Succeed

28            BiT alleges that Coinbase’s post on X that it would suspend trading for wBTC and its


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 1    corresponding statements to the publications Yahoo! Finance and Cointelegraph that wBTC does

 2    not meet Coinbase’s listing standards constitute “trade libel.” Compl. ¶¶92-93, 95. BiT has no

 3    likelihood of success on this claim because each of the challenged statements is true, and in any

 4    event BiT has not shown that it suffered special damages from any of the statements.

 5           First, BiT has not and cannot show that any of the challenged statements are false. “To

 6    constitute trade libel, a statement must be false.” ComputerXpress, Inc. v. Jackson, 93 Cal. App.

 7    4th 993, 1010 (2001). As detailed, Coinbase undertook a review of wBTC that considered, among

 8    other things, BiT and BitGo’s failure to adequately respond to diligence requests concerning the
 9    ownership structure of the new joint venture controlling wBTC and the risks to customers
10    associated with listing an asset in which Justin Sun was materially involved. Hillman Decl. ¶31.
11    Based on this review, Coinbase concluded that wBTC presented unacceptable risks and as a result
12    no longer met Coinbase’s listing standards. Id. ¶31. Accordingly, each of the challenged statements
13    is truthful, and accurately conveys Coinbase’s decision and the results of its assessment.
14           BiT’s only basis for claiming that any of these statements were false is the demonstrably
15    incorrect and conclusory assertion that “Coinbase does not actually have any actual listing
16    standards that it follows.” Mot. 18. Of course—and as even BiT concedes, Mot. 5-6—Coinbase
17    does have listing standards, which are summarized for the public on its website, see supra pp.4-5.
18    Faced with this reality, BiT contends that these listing standards are a “sham,” an allegation based

19    entirely on its characterizations of Coinbase’s listing process as “largely [] subjective” with only

20    a “few truly objective criteria in Coinbase’s listing standards,” and BiT’s belief that wBTC better

21    satisfies these criteria than other assets Coinbase allows to be listed on its retail exchange. Mot. 5-

22    10; Compl. ¶¶62-72. That does not come anywhere close to establishing—or even suggesting—

23    that the challenged statements are false. BiT offers no facts, either in its Complaint or its motion,

24    “showing that [Coinbase’s] descriptions of [its listing] processes were false … nor facts showing

25    that the processes were not followed.” In re Citigroup, Inc. Sec. Litig., 330 F. Supp. 2d 367, 379

26    (S.D.N.Y. 2004); see also Africa v. Jianpu Tech. Inc., 2022 WL 4537973, at *6 (S.D.N.Y. Sept.

27    28, 2022) (“the fact that there were noncompliant providers on [platform] does not mean that …

28    statements regarding the Company’s regulatory compliance measures were untrue when made”).


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 1    Thus, BiT’s contention that Coinbase’s listing process is a “sham” such that the challenged

 2    statements were false is entirely speculative and cannot support its trade libel claim. See Prehired,

 3    LLC v. Provins, 2022 WL 1093237, at *4-5 (E.D. Cal. Apr. 12, 2022) (denying trade libel TRO

 4    where movant did not “prov[e] that the statements made by Defendant are in fact false”).

 5           Second, BiT has not established that it is likely to succeed in establishing that it suffered

 6    special damages. An “essential element” of a trade libel claim is “that the plaintiff suffered direct

 7    financial harm because someone else acted in reliance on the defendant’s statement.” Muddy

 8    Waters, LLC v. Super. Ct., 62 Cal. App. 5th 905, 925 (2021). “[U]nder Fed. R. Civ. P. 9(g) the
 9    pleader must state special damages with specificity.” Piping Rock Partners, Inc v. David Lerner
10    Assocs., Inc., 946 F. Supp. 2d 957, 981 (N.D. Cal. 2013). “[A] plaintiff ‘may not rely on a general
11    decline in business arising from the [alleged] falsehood, and must instead identify particular
12    customers and transactions of which it was deprived as a result of the libel.” AlterG, Inc. v. Boost
13    Treadmills LLC, 388 F. Supp. 3d 1133, 1154-55 (N.D. Cal. 2019) (quoting Mann v. Quality Old
14    Time Serv., Inc., 120 Cal. App. 4th 90, 109 (2004)).
15           Neither BiT’s complaint nor its motion makes any attempt to specifically identify particular
16    customers or transactions it lost as a result of Coinbase’s actions. Instead, it points only to a
17    decrease in circulation of wBTC since Coinbase announced its decision and the supposed fact that
18    cbBTC “has been taking wrapped Bitcoin market share.” Mot. 17. That is not enough to plead a

19    trade libel claim—let alone to show a likelihood of success—and an independent reason why BiT’s

20    trade libel claim fails. Isuzu Motors Ltd. v. Consumers Union of United States, Inc., 12 F. Supp.

21    2d 1035, 1047 (C.D. Cal. 1998) (“A bare allegation of the amount of pecuniary loss is insufficient

22    for the pleading of a trade libel claim.”). That is especially true where the generalized decrease in

23    wBTC circulation BiT relies on predates Coinbase’s delisting announcement and flows from the

24    public’s wariness about BiT’s affiliation with Mr. Sun—not from anything Coinbase has done.

25    See supra pp.7-8. A decrease in business caused by the plaintiff’s own actions, rather than the

26    conduct challenged in litigation, cannot form the basis for a trade libel claim. See AlterG, 388 F.

27    Supp. 3d at 1155 (customer loss must be “attributable to Defendants’ trade libel”); Piping Rock

28    Partners, 946 F. Supp. 2d at 981 (dismissing claim where “it is not even clear if” alleged lost sales


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 1    were “connected to” libel).

 2    III.    THERE IS NO PUBLIC INTEREST IN FORCING COINBASE TO ALLOW WBTC TRADING

 3            In evaluating the public interest factor, the Ninth Circuit has directed courts to primarily

 4    consider the “impact on non-parties rather than parties” and “pay particular regard for the public

 5    consequences in employing the extraordinary remedy of injunction.” Bernhardt v. Los Angeles

 6    Cnty., 339 F. 3d 920, 931-32 (9th Cir. 2003). The public consequences of granting this TRO would

 7    be profound, ranging from exposing the public to greater risk of market manipulation and fraud to

 8    undermining the role of platforms in providing users the protection and confidence in their
 9    transactions that brought them to those platforms in the first place.
10            Coinbase plans to delist wBTC precisely because doing so serves the public interest.
11    Coinbase has reason to believe that leaving wBTC on Coinbase’s exchange exposes the public to
12    significant financial risk. And correspondingly, a court order ordering Coinbase to continue listing
13    a potentially compromised digital asset—presenting concerns not just in Coinbase’s eyes, but in
14    the eyes of many sophisticated players in the cryptocurrency space—would clearly undermine,
15    rather than serve, the public interest.
16            BiT’s contrary assertion that compelling Coinbase to continue to list wBTC will serve the
17    public by giving users “more choice and more options” conflates its own interests with the public’s.
18    BiT’s desire for a platform where “each user can research and come to their own conclusions about

19    what wrapped Bitcoin product they wish to use,” Mot. 23, can already be found in other exchanges.

20            The public interest is better served by allowing Coinbase to do what exchanges have done

21    for generations: provide a platform for legitimate trading and protect users and the market from

22    fraud and manipulation. The particular danger at issue here—forcing an exchange to continue

23    trading of a digital asset despite its diligence pointing to potential control by someone who has

24    repeatedly been accused of financial misconduct—goes to the heart of platforms’ role in

25    facilitating trust and security in digital asset exchanges. Courts have found that platforms of all

26    types acted in the public interest in taking similar steps to protect their users. See, e.g., Stackla,

27    2019 WL 4738288, at *6 (“Facebook’s ability to decisively police the integrity of its platforms is

28    without question a pressing security interest.”). In Stackla, Judge Hamilton denied a TRO sought


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 1    by an app developer Facebook found to have collected user data without authorization. Id. The

 2    court declined to order Facebook to grant access to its platform, ruling that its “ability to decisively

 3    police the integrity of its platforms is without a question a pressing public interest.” Id.

 4           The public interest in allowing Coinbase to police the integrity of its own platform is at

 5    least as significant here. To the extent there is any public interest in maintaining Coinbase users’

 6    ability to trade wBTC on Coinbase (which they can still do on other platforms), that interest is far

 7    outweighed by the need to allow exchanges to provide a secure experience. Granting BiT’s motion

 8    for a TRO here would have the effect of second-guessing, through a federal civil action, Coinbase’s
 9    careful exercise of its platform enforcement authority in the face of involvement by an alleged
10    fraudster under criminal investigation. The ramifications for digital asset exchanges and a host of
11    other online platforms would be far-reaching and fundamentally at odds with the efforts that
12    Coinbase and others take every day to ensure fair and secure digital asset trading.
13    IV.    THE BALANCE OF EQUITIES WEIGHS AGAINST THE EXTRAORDINARY RELIEF SOUGHT
14           BiT incorrectly asserts that Coinbase would suffer “no discernable legitimate harm” from

15    keeping wBTC on its platform. Mot. 22. Far from it. As discussed above, Coinbase has worked

16    tirelessly and invested extensively to earn its reputation for reliability and security. See supra p.4.

17    Coinbase adheres to a strong compliance foundation, rooted in best practices from the traditional

18    financial services industry in combination with sophisticated technology, to live up to the standard

19    it has set for itself as the “Most Trusted Crypto Exchange.” Hillman Decl. ¶7. Its business depends

20    on upholding these commitments and screening untrustworthy assets from its platform. Id. ¶7.

21           Coinbase achieved and maintained its position as the most trusted exchange by carefully

22    striking the appropriate balance between supporting the exchange of a breadth of assets and

23    ensuring the legitimacy of those assets. And Coinbase (which has a team of experts who specialize

24    in assessing risk to consumers) must be allowed to exercise its judgment on how best to strike that

25    balance. If Coinbase is unable to exercise its own judgment to remove potentially dangerous assets

26    from its platform, malicious actors will take advantage. The trust Coinbase has expended

27    immeasurable effort earning will be degraded and its reputation will be put at serious risk.

28           These are not hypothetical risks. In the wake of the collapse of other digital asset


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 1    exchanges, an exchange’s reputation is more important than ever. Judicial intervention on behalf

 2    of one jilted token offeror would jeopardize investor confidence across this growing sector. A TRO

 3    could lead users to reasonably fear that Coinbase or other experts approved of a token not because

 4    of their expertise, but rather because they had their hand forced by the threat of litigation.

 5           The harms that Coinbase faces are thus both discernable and legitimate, outweighing the

 6    minor harms alleged by BiT. Users seeking wBTC will still be able to purchase it on other

 7    exchanges, and any wBTC they currently hold will remain in their Coinbase wallets. BiT’s

 8    hyperbolic claims of lock-in misrepresent the highly dynamic wrapped tokens space. Moreover,
 9    any reputational harm from being delisted is unlikely to outweigh the reputational hit BiT took on
10    when it associated itself with Justin Sun.
11
       Dated: December 17, 2024                              Respectfully submitted,
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                                                             By: /s/ Sonal N. Mehta
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                                                             SONAL N. MEHTA (SBN 222086)
14
                                                             Attorney for Defendant Coinbase Global, Inc.
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